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                                                                10   FACEBOOK, INC.

                                                                11
                                                                                               UNITED STATES DISTRICT COURT
                           Los Angeles, California 90071-2627
                           550 South Hope Street, Suite 2000
Hunton Andrews Kurth LLP




                                                                12
                                                                                         NORTHERN DISTRICT OF CALIFORNIA
                                                                13
                                                                14   FACEBOOK, INC., a Delaware              CASE NO.: 3:19-cv-04556
                                                                15   corporation,
                                                                                                             COMPLAINT FOR:
                                                                16                Plaintiff,
                                                                                                               (1) BREACH OF CONTRACT
                                                                17
                                                                           v.                                  (2) COMPUTER FRAUD AND ABUSE
                                                                18                                                 ACT (18 U.S.C. § 1030(A))
                                                                19   JEDIMOBI TECH PTE. LTD. and               (3) CALIFORNIA COMPREHENSIVE
                                                                20   LIONMOBI HOLDING, LTD.,                       COMPUTER DATA ACCESS AND
                                                                                                                   FRAUD ACT (CAL. PENAL CODE
                                                                21                Defendants.                      § 502)
                                                                22                                             (4) FRAUD
                                                                23                                             (5) UNFAIR OR FRAUDULENT
                                                                                                                   BUSINESS PRACTICES (CAL.
                                                                24
                                                                                                                   BUSINESS AND PROFESSIONS
                                                                25                                                 CODE §§ 17200 ET SEQ.)
                                                                26                                           DEMAND FOR JURY TRIAL
                                                                27
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                                                                                               COMPLAINT; DEMAND FOR JURY TRIAL
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                                                                1                                      INTRODUCTION
                                                                2          1.     In 2018, Defendants JediMobi Tech Pte. Ltd. and LionMobi Holding, Ltd.
                                                                3    were application developers that deceived their users (“the app users”) into installing
                                                                4    fraudulent and malicious apps from the Google Play store. Unbeknownst to the app
                                                                5    users, Defendants delivered and installed malicious code (“malware”) onto the app
                                                                6    users’ mobile devices through the apps. Defendants designed the malware to create the
                                                                7    false impression that the app user clicked on advertisements delivered to the user’s
                                                                8    device, a practice known as “click injection fraud.” Defendants specifically targeted
                                                                9    ads serviced by social media companies, including Facebook and Google. As a result
                                                                10   of their scheme, Defendants generated advertising revenue for themselves. Facebook
                                                                11   identified Defendants and their scheme through an investigation of malicious apps and
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                                                                12   disabled Defendants’ known Facebook and advertising accounts in 2018. Facebook
                                                                13   seeks injunctive and other equitable relief and damages against Defendants.
                                                                14                                         PARTIES
                                                                15         2.     Facebook is a Delaware corporation with its principal place of business in
                                                                16   Menlo Park, San Mateo County, California.
                                                                17         3.     Defendant JediMobi is corporation registered in Singapore, with its
                                                                18   principal place of business at 60 Paya Lebar Road #09-26, Paya Lebar Square,
                                                                19   Singapore.
                                                                20         4.     Defendant LionMobi is a Hong Kong, China corporation headquartered
                                                                21   and registered in China, with its principal place of business at Topsail Plaza, No. 11 On
                                                                22   Sum Street, Hong Kong, China.
                                                                23         5.     At all times material to this action, each Defendant was the agent,
                                                                24   employee, partner, alter ego, subsidiary, or co-conspirator of and with the other
                                                                25   Defendant, and the acts of each Defendant were in the scope of that relationship. In
                                                                26   doing the acts and failing to act as alleged in this Complaint, each Defendant acted with
                                                                27   the knowledge, permission, and the consent of each of the other Defendant; and, each
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                                                                1    Defendant aided and abetted the other Defendant in the acts or omissions alleged in this
                                                                2    Complaint.
                                                                3                                         JURISDICTION
                                                                4          6.     This Court has federal question jurisdiction over the federal causes of
                                                                5    action alleged in this complaint pursuant to 28 U.S.C. § 1331.
                                                                6          7.     The Court has supplemental jurisdiction over the state law causes of action
                                                                7    alleged in this complaint pursuant to 28 U.S.C. § 1367 because these claims arise out
                                                                8    of the same nucleus of operative fact as Facebook’s federal claims.
                                                                9          8.     In addition, the Court has jurisdiction over all the causes of action alleged
                                                                10   in this complaint asserted pursuant to 28 U.S.C. § 1332 because there exists complete
                                                                11   diversity between Facebook and each of the named Defendants, and because the amount
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                                                                12   in controversy exceeds $75,000.
                                                                13         9.     The Court has personal jurisdiction over Defendants because each
                                                                14   Defendant used Facebook’s platform and participated in Facebook’s Audience Network
                                                                15   and thereby agreed to Facebook’s Terms of Service, Platform Policy, Audience
                                                                16   Network Terms, and Audience Network Policy. LionMobi also used Facebook’s
                                                                17   advertising platform and thereby agreed to Facebook’s Advertising Policies. In relevant
                                                                18   part, Facebook’s Terms of Service require Defendants to submit to the personal
                                                                19   jurisdiction of this Court.
                                                                20         10.    In addition, the Court has personal jurisdiction because Defendants
                                                                21   knowingly directed and targeted their scheme at Facebook, which has its principal place
                                                                22   of business in California. Defendants also participated in Facebook Audience Network,
                                                                23   Facebook’s advertising platform, and transacted business using Facebook, and engaged
                                                                24   in commerce in California.
                                                                25         11.    Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) as the
                                                                26   threatened and actual harm to Plaintiffs occurred in this District. Venue is also proper
                                                                27   with respect to each of the Defendants pursuant to 28 U.S.C. §1391(c)(3) because none
                                                                28   of the Defendants resides in the United States.
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                                                                1          12.    Pursuant to Civil L.R. 3-2(c), this case may be assigned to either the San
                                                                2    Francisco or Oakland Division because Facebook is located in San Mateo County.
                                                                3                                           FACTS
                                                                4          A.     Background
                                                                5          13.    Facebook is a social networking website and mobile application that
                                                                6    enables its users to create their own personal profiles and connect with each other on
                                                                7    mobile devices and personal computers. As of June 2019, Facebook daily active users
                                                                8    averaged 1.59 billion and monthly active users averaged 2.3 billion, worldwide.
                                                                9          14.    Facebook’s Audience Network is a product that Facebook offers to enable
                                                                10   advertisers to display their ads to people who use (non-Facebook) apps and websites.
                                                                11   By integrating their apps with Audience Network, third-party mobile app developers
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                                                                12   can generate revenue by displaying ads to Facebook users who use their apps. To
                                                                13   implement Audience Network, a third-party mobile app developer adds code provided
                                                                14   by Facebook to their app, which will show and track the Audience Network ads (the
                                                                15   “Audience Network SDK”). Facebook pays the third-party mobile app developers a
                                                                16   percentage of the net revenue generated from the ads delivered on their apps. Generally,
                                                                17   the payment amounts depend on the number of clicks attributed to the ads displayed on
                                                                18   a particular app through Audience Network.
                                                                19         15.    Like Facebook’s Audience Network, Google also has an advertising
                                                                20   network for mobile apps called AdMob. AdMob allows advertisers to display ads in
                                                                21   mobile apps visited by Google users. AdMob compensates the mobile app developers
                                                                22   based on the number of clicks attributed to the ads displayed through AdMob.
                                                                23         16.    Access and interaction with Facebook’s computer network is subject to
                                                                24   and restricted by Facebook’s Terms of Service (“TOS”), Audience Network Terms
                                                                25   (“AN Terms”), and Advertising Policies (“Ad Policies”).
                                                                26
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                                                                1                  i.    Facebook’s TOS
                                                                2          17.     Everyone who uses Facebook must agree to Facebook’s TOS (available at
                                                                3    https://www.facebook.com/terms.php), and other rules that govern different types of
                                                                4    access to, and use of, Facebook.
                                                                5          18.     Section 3.2.1 of the TOS prohibits using Facebook to do anything “[t]hat
                                                                6    violates these Terms, and other terms and policies,” and that “is unlawful, misleading,
                                                                7    discriminatory or fraudulent” or “violates someone else’s rights.”
                                                                8          19.     Section 3.2.2 prohibits uploading “viruses or malicious code or do[ing]
                                                                9    anything that could disable, overburden, or impair the proper working or appearance of
                                                                10   our Products.”
                                                                11                 ii.   Facebook’s AN Terms
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                                                                12         20.     All developers operating on Audience Network agree to the AN Terms
                                                                13   (available                                                                                at
                                                                14   https://www.facebook.com/ads/manage/audience_network/publisher_tos/),              which
                                                                15   incorporate    Facebook’s    Platform   Policy   (“Platform    Policy”)   (available      at
                                                                16   https://developers.facebook.com/policy) and the Audience Network Policy (“AN
                                                                17   Policy”) (available at https://developers.facebook.com/docs/audience-network/policy).
                                                                18         21.     Section 3.1 of the AN Terms requires developers “to comply with the
                                                                19   Audience Network Service specifications provided by FB from time-to-time to enable
                                                                20   proper delivery, display, tracking and reporting of Ads, including without limitation, by
                                                                21   not modifying, misusing or deriving data from the technology (e.g., the FB SDK, FB
                                                                22   tags, or FB API’s, as applicable).”
                                                                23         22.     Section 1.4 of the AN Policy prohibits the dissemination of “spyware,
                                                                24   malware, or any software that results in an unexpected or deceptive experience.”
                                                                25         23.     Section 3.2 of the AN Policy requires that developers implement Audience
                                                                26   Network “in a way that delivers the expected clicks, impressions or conversion” and
                                                                27   specifically prohibits the use of “automated, deceptive, fraudulent or other invalid
                                                                28
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                                                                1    means (ex: through repeated manual clicks or the use of bots) to artificially inflate
                                                                2    clicks, impressions or conversions.”
                                                                3            24.        Section 1.7 of the Platform Policy requires that developer apps not
                                                                4    “confuse, deceive, mislead, spam or surprise anyone.”
                                                                5                       iii.     Facebook’s Ad Policies
                                                                6            25.        Facebook’s TOS prohibit violations of Facebook’s Ad Policies, which
                                                                7    apply         to          ads   run    across     Facebook     Products   (available        at
                                                                8    https://www.facebook.com/policies/ads/). Ad Policy 4.13 states “ads, landing pages,
                                                                9    and business practices must not contain deceptive, false, or misleading content,
                                                                10   including deceptive claims, offers, or methods.”
                                                                11           26.        Ad Policy 4.25 requires that “Ads must not contain spyware, malware, or
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                                                                12   any software that results in an unexpected or deceptive experience. This includes links
                                                                13   to sites containing these products.”
                                                                14           B.         Defendants Agreed to Facebook’s TOS, AN Terms, and Policies
                                                                15                      i.       LionMobi
                                                                16           27.        LionMobi created a Facebook Page—a profile on Facebook used to
                                                                17   promote a business or other commercial, political, or charitable organization or
                                                                18   endeavor—on approximately October 24, 2014. A Facebook Page can only be created
                                                                19   by a user with a Facebook account.
                                                                20           28.        On approximately January 21, 2015, LionMobi signed up to participate in
                                                                21   AN. To sign up for AN, LionMobi agreed to the AN Terms.
                                                                22           29.        On approximately October 11, 2016, the Chief Operating Officer of
                                                                23   LionMobi Holding Limited, signed a “Written Acknowledgement of Audience Network
                                                                24   Terms” affirming that “use by LionMobi Holding Limited . . . of Facebook’s Audience
                                                                25   Network feature is governed by the then-current Audience Network Terms . . .” (See
                                                                26   Exhibit 1.)
                                                                27           30.        Between 2015 and 2018, LionMobi advertised its apps on Facebook.
                                                                28   LionMobi ran numerous ads relating to their app called PowerClean. LionMobi agreed
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                                                                1    to the Ad Policies before running an advertisement.
                                                                2          31.    At all relevant times, LionMobi was a Facebook user that agreed to and
                                                                3    was by bound by the TOS. LionMobi’s employees and agents accepted and agreed to
                                                                4    be bound by the TOS, AN Terms, AN Policy, Platform Policy, and Ad Policies on
                                                                5    behalf of LionMobi.
                                                                6                 ii.   JediMobi
                                                                7          32.    JediMobi created a Facebook Page on approximately August 8, 2016.
                                                                8          33.    On approximately August 23, 2018, JediMobi registered to participate in
                                                                9    Audience Network. JediMobi agreed to the AN Terms when it registered to participate
                                                                10   in Audience Network.
                                                                11         34.    At all relevant times, JediMobi was a Facebook user that agreed to and was
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                                                                12   bound by the TOS. JediMobi’s employees and agents accepted and agreed to be bound
                                                                13   by the TOS, Platform Policy, AN Terms, and AN Policy on behalf of JediMobi.
                                                                14         C.     Defendants’ Click Injection Fraud Scheme
                                                                15                i.    Overview
                                                                16         35.    In 2018, Defendants jointly engaged in a click injection fraud scheme
                                                                17   targeting Facebook and Google. Defendants’ scheme proceeded as follows:
                                                                18         36.    First, Defendants developed fraudulent mobile apps for the Google Play
                                                                19   store, which purported to be utility apps. Defendants falsely marketed their apps on the
                                                                20   Google Play store, as calculator or cleaner apps for mobile devices. In fact, Defendants
                                                                21   knew that the apps delivered malware, which the users unknowingly installed on their
                                                                22   devices. At times, the malware was delivered in the form of “updates” to the apps and,
                                                                23   after October 2018, the malware was included directly in the apps.
                                                                24         37.    Second, Defendants registered their apps with Facebook’s Audience
                                                                25   Network and Google’s AdMob in order to deliver ads purchased by advertisers through
                                                                26   Facebook and Google. Defendants also advertised at least one of their fraudulent apps
                                                                27   on Facebook, in violation of Facebook TOS and Policies, in order to entice Facebook
                                                                28   users into visiting the Google Play store and installing the app.
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                                                                1          38.     Third, after Defendants’ malware was installed on their app users’ mobile
                                                                2    devices, Defendants monitored advertising activity from Facebook and Google and
                                                                3    injected fake user clicks.      These fake clicks generated advertising revenue for
                                                                4    Defendants.
                                                                5                  ii.      Defendants Offered and Promoted Fraudulent Apps on the
                                                                6                           Google Pay Store
                                                                7          39.     Defendants created and promoted several apps on the Google Play store,
                                                                8    which is Google’s online store for Android apps, games, and other content. Users who
                                                                9    visited the Google Play store could download and install Defendants’ apps on an
                                                                10   Android-compatible device. Facebook did not host the fraudulent apps or grant them
                                                                11   access to user data.
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                                                                12                          a.    LionMobi’s Power Clean App
                                                                13         40.     From approximately January 21, 2015 to the present, LionMobi offered an
                                                                14   app called “Power Clean – Antivirus and Phone Cleaner App” on the Google Play store.
                                                                15   On the Google Play store, LionMobi represented that the app was a “light, fast & smart
                                                                16   android phone cleaner and booster app that clean (sic) phone memory and storage space
                                                                17   with simply 1 tap.” LionMobi did not disclose to its app users that the Power Clean app
                                                                18   would be used as a conduit to install malware onto the app users’ devices or inject fake
                                                                19   user clicks, as set forth in further detail below.
                                                                20         41.     According to LionMobi’s website, the Privacy Policy for the Power Clean
                                                                21   App claimed only to “use the information we collect from our applications and services
                                                                22   to provide you better features and experiences on them.” (See Exhibit 2.) The Policy
                                                                23   failed to inform users that the Power Clean App infected their devices with malware
                                                                24   designed to monitor advertising activity from Google, and inject fake clicks purporting
                                                                25   to originate from the app user. (Exhibit 2.)
                                                                26         42.     Beginning no later than October 2018, LionMobi advertised its Power
                                                                27   Clean app on Facebook in a variety of ads. (See Exhibit 3.) The ads did not identify
                                                                28
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                                                                1    that Power Clean would install malware on users’ devices or inject fake user clicks.
                                                                2    Instead, the ads misrepresented the app as an “antivirus” app.
                                                                3                        b.      JediMobi’s Calculator Plus App
                                                                4          43.    Between July 24, 2018 and December 2018, JediMobi offered an app
                                                                5    called “Calculator Plus,” which purported to operate as a calculator with multiple
                                                                6    functions, including exchange rate calculation and time zone conversion. On the
                                                                7    Google Play store, JediMobi represented that the app functioned as a “scientific
                                                                8    calculator and math calculator do like calculus calculation, trigonometric calculation,
                                                                9    but it also acts as your GPA calculator, BMI calculator and even discount calculator!”
                                                                10         44.    Similarly, JediMobi’s Privacy Policy failed to inform users that the
                                                                11   Calculator Plus App infected their devices with malware designed to monitor
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                                                                12   advertising activity from Facebook and Google, and inject fake clicks purporting to
                                                                13   originate from the app user. (See Exhibit 4.)
                                                                14                iii.   Defendants’ Fraudulent Apps Injected Fake Clicks
                                                                15         45.    Defendants’ apps did not operate as advertised on the Google Play store or
                                                                16   consistent with their Privacy Policies. Instead, they installed malware designed to
                                                                17   intercept ad-related data and inject fake clicks, in order to deceive Facebook’s Audience
                                                                18   Network and Google’s AdMob into crediting the apps for clicks that did not occur.
                                                                19   Among other things, this violated Facebook’s TOS and the AN Terms.
                                                                20                       a.      Defendants Used the Calculator Plus App To Defraud
                                                                21                               Facebook
                                                                22         46.    Between July 24, 2018 and December 27, 2018, JediMobi’s Calculator
                                                                23   Plus app was part of Audience Network. This means that the app showed its users ads
                                                                24   served by Facebook. In connection with their participation in Audience Network,
                                                                25   Defendants were paid a percentage of the advertising revenue and received additional
                                                                26   compensation if app users clicked on the ads. In addition to receiving ads from
                                                                27   Audience Network, the Calculator Plus app was also part of AdMob and showed ads
                                                                28   from Google.
                                                                                                                8
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                                                                1          47.    On approximately October 22, 2018, the Defendants updated Calculator
                                                                2    Plus to version 1.1.8.    This “update” included customized malware that would
                                                                3    fraudulently simulate clicks on Audience Network ads. Specifically, the malware
                                                                4    tampered with the Audience Network SDK, monitored the ads, and injected fake clicks
                                                                5    on those ads. The fake clicks were delivered to Facebook servers in connection with
                                                                6    Audience Network. The only purpose of this malware was to defraud Facebook into
                                                                7    believing that additional users had clicked on Audience Network ads.
                                                                8          48.    The malware was also designed to make the fake clicks appear to be those
                                                                9    of a real user by falsifying user movements on the device and timing the fake clicks so
                                                                10   that they occurred after a user would have the opportunity to view the ad.
                                                                11         49.    The fabricated clicks generated payments for Defendants through their
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                                                                12   participation in Audience Network. In total, the app generated over 40 million ad
                                                                13   impressions and 1.7 million clicks through Audience Network from October 2018 to
                                                                14   December 2018—when Facebook detected the fraud and suspended them.
                                                                15         50.    The Calculator Plus App also contained malware to simulate clicks on the
                                                                16   AdMob network.
                                                                17                      b.      Defendants Used Deceptive Ads on Facebook to
                                                                18                              Promote the Power Clean App
                                                                19         51.    Defendants advertised the Power Clean App on Facebook in violation of:
                                                                20   (1) Ad Policy 4.13 because the ads contained “deceptive, false, or misleading content;”
                                                                21   and (2) Ad Policy 4.25 because the ads directed Facebook users to the Google Play store
                                                                22   to install the fraudulent apps. Defendants knew the ads and the apps were deceptive and
                                                                23   misleading because, unbeknownst to the users, the app infected the users’ devices with
                                                                24   malware for the purpose of injecting fake clicks.
                                                                25         52.    From at least October 26, 2018, the Power Clean app included malware
                                                                26   designed to fabricate clicks on ads served by the AdMob system.              Specifically,
                                                                27   whenever a user performed certain activities in the Power Clean app, an ad was
                                                                28   displayed through the AdMob system. The malware would then inject a fake click on
                                                                                                               9
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                                                                1    the AdMob ad. The only purpose of this malware was to deceive Google’s AdMob
                                                                2    system into believing that additional users had clicked on AdMob ads.
                                                                3          53.   Like the malware contained in the Calculator Plus app, the AdMob
                                                                4    malware took steps to make the simulated clicks appear to be those of a real user by,
                                                                5    among other things, falsifying user movements and timing the simulated clicks so that
                                                                6    they occurred after a user would have the opportunity to view the ad.
                                                                7                iv.    JediMobi and LionMobi Share the Malware and Computer
                                                                8                       Infrastructure Used to Inject Clicks
                                                                9          54.   JediMobi’s Calculator Plus app and LionMobi’s Power Clean app shared
                                                                10   customized malware designed to inject clicks for Google’s AdMob network.
                                                                11         55.   Defendants also programmed the malware to rely on shared computer
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                                                                12   infrastructure. For example, the IP address of a LionMobi server was encoded into the
                                                                13   malware on JediMobi’s Calculator Plus app. JediMobi’s Calculator Plus app also
                                                                14   included code that checked for the presence of a LionMobi app on the app users’ device
                                                                15   and modified the malware’s behavior based on that determination.
                                                                16         56.   In addition, the malware developer used the encryption key
                                                                17   “lionmobikey$)!1” for the malware on JediMobi’s Calculator Plus app.
                                                                18         D.    Facebook’s Enforcement Actions Against Defendants
                                                                19         57.   In approximately December 2018, Facebook detected and began
                                                                20   investigating fake user clicks associated with the Calculator Plus app, JediMobi, and
                                                                21   LionMobi.
                                                                22         58.   On or about December 27, 2018, Facebook suspended Defendants from
                                                                23   Audience Network and disabled Facebook accounts associated with Defendants.
                                                                24   Facebook also refunded the impacted advertisers.
                                                                25         E.    Defendants’ Unlawful Acts Have Caused Facebook Substantial
                                                                26               Harm.
                                                                27         59.   Defendants’ breaches of Facebook’s TOS, AN Terms, and Ad Policies and
                                                                28   other misconduct described above have harmed Facebook, by, among other things,
                                                                                                              10
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                                                                1    interfering with Facebook’s service.
                                                                2          60.    Defendants’ misconduct also has injured Facebook’s reputation, public
                                                                3    trust, and goodwill, and has caused Facebook to spend resources investigating and
                                                                4    redressing Defendants’ wrongful conduct. Facebook has suffered damages attributable
                                                                5    to the efforts and resources it has used to investigate, address, and mitigate the matters
                                                                6    set forth in this Complaint.
                                                                7          61.    Defendants have been unjustly enriched by their activities at Facebook’s
                                                                8    expense.
                                                                9                                   FIRST CAUSE OF ACTION
                                                                10                                     Breach of Contract
                                                                11         62.    Facebook incorporates all other paragraphs as if fully set forth herein.
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                                                                12         63.    Access to and use of Facebook and services is governed by Facebook’s
                                                                13   TOS and its related policies. Access to and use of Facebook’s Audience Network is
                                                                14   governed by the AN Terms. Access to and use of advertising on Facebook is governed
                                                                15   by Facebook’s Advertising Policies.
                                                                16         64.    Defendants agreed to and became bound by Facebook’s TOS, Platform
                                                                17   Policy, AN Terms, when they used Facebook, Facebook’s platform, and Facebook’s
                                                                18   services. Similarly, Defendant LionMobi separately agreed to and became bound by
                                                                19   Facebook’s Advertising Policies by using Facebook’s advertising platform.
                                                                20         65.    Facebook has performed all conditions, covenants, and promises required
                                                                21   of it in accordance with Facebook’s TOS and related policies.
                                                                22         66.    As alleged above, Defendants knowingly breached Facebook’s TOS,
                                                                23   Platform Policy, and AN Terms. In addition, LionMobi knowingly breached
                                                                24   Facebook’s Advertising Policies.
                                                                25         67.    When Defendants agreed to and became bound by Facebook’s TOS,
                                                                26   Platform Policy, AN Terms, and Advertising Policies, both Facebook and Defendants
                                                                27   knew or reasonably could have foreseen that the harm and injury to Facebook was likely
                                                                28   to occur in the ordinary course of events because of Defendants’ breach.
                                                                                                                11
                                                                                                COMPLAINT; DEMAND FOR JURY TRIAL
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                                                                1           68.    Defendants’ respective breaches caused Facebook damages in an amount
                                                                2    to be proven at trial.
                                                                3                                  SECOND CAUSE OF ACTION
                                                                4                             Violations of the Computer Fraud and Abuse Act
                                                                5                                      18 U.S.C. § 1030 et seq.
                                                                6           69.    Facebook incorporates all other paragraphs as if fully set forth herein.
                                                                7           70.    Facebook’s computer network is comprised of protected computers
                                                                8    involved in interstate and foreign commerce and communication as defined by 18
                                                                9    U.S.C. § 1030(e)(2).
                                                                10          71.    Defendants knowingly and with intent to defraud, accessed Facebook’s
                                                                11   computer network without Facebook’s authorization.            Namely, Defendants used
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                                                                12   malware designed to deliver fake user clicks to the endpoints used by Facebook’s
                                                                13   Audience Network, which were only accessible through the Audience Network SDK
                                                                14   on the users’ compromised devices.
                                                                15          72.    In violation of 18 U.S.C. § 1030(a)(4), Defendants, knowingly and with
                                                                16   intent to defraud, accessed Facebook protected computers, by sending unauthorized
                                                                17   commands, namely, fake user clicks which purported to originate from Android app
                                                                18   users, but in fact originated from Defendants’ malware. These commands were directed
                                                                19   to Facebook’s computer network for the purpose of furthering Defendants’ click
                                                                20   injection fraud scheme and obtaining anything of value, including payment for
                                                                21   fraudulent ad clicks.
                                                                22          73.    In violation of 18 U.S.C. § 1030(a)(5)(A), Defendants knowingly and
                                                                23   intentionally caused the transmission of a program, information, code or command and
                                                                24   as a result of such conduct intentionally damaged Facebook protected computers.
                                                                25          74.    In violation of 18 U.S.C. § 1030(a)(5)(B), Defendants knowingly and
                                                                26   intentionally accessed a protected computer without authorization, and as a result of
                                                                27   such conduct, recklessly caused damage to Facebook protected computers.
                                                                28
                                                                                                                 12
                                                                                                   COMPLAINT; DEMAND FOR JURY TRIAL
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                                                                1          75.    In violation of 18 U.S.C. §1030(a)(5)(C), Defendants knowingly and
                                                                2    intentionally accessed a protected computer without authorization, and as a result of
                                                                3    such conduct, caused damage to Facebook protected computers and a loss.
                                                                4          76.    In violation of 18 U.S.C. § 1030(b), Defendants conspired or attempted to
                                                                5    commit the violations alleged in the preceding paragraphs.
                                                                6          77.    Defendants’ conduct has caused a loss to Facebook during a one-year
                                                                7    period in excess of $5,000.
                                                                8          78.    Defendants’ actions caused Facebook to incur losses and other economic
                                                                9    damages, including the expenditure of resources to investigate and respond to
                                                                10   Defendants’ fraudulent scheme.
                                                                11                                 THIRD CAUSE OF ACTION
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                                                                12               Violations of the California Comprehensive Computer Data Access
                                                                13                              and Fraud Act, Cal. Penal Code § 502
                                                                14         79.    Facebook incorporates all other paragraphs as if fully set forth herein.
                                                                15         80.    Through the malicious software, Defendants knowingly and without
                                                                16   permission accessed Facebook’s computer networks, namely, endpoints used by
                                                                17   Facebook’s Audience Network, in order to devise and/or execute a scheme to defraud
                                                                18   and deceive, all in violation of California Penal Code § 502(c)(1).
                                                                19         81.    In violation of California Penal Code § 502(c)(3), Defendants knowingly
                                                                20   and without permission used or caused to be used Facebook’s computer services.
                                                                21         82.    In violation of California Penal Code § 502(c)(5), Defendants knowingly
                                                                22   and without permission disrupted or caused the disruption of computer services and/or
                                                                23   denied or caused the denial of computer services to one or more authorized users of
                                                                24   Facebook’s computers, computer systems, and/or computer networks.
                                                                25         83.    In violation of California Penal Code § 502(c)(7), Defendants knowingly
                                                                26   and without permission accessed or caused to be accessed Facebook’s computers,
                                                                27   computer systems, and/or computer networks.
                                                                28
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                                                                                               COMPLAINT; DEMAND FOR JURY TRIAL
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                                                                1            84.   Because Facebook suffered damages and a loss as a result of Defendants’
                                                                2    actions, Facebook is entitled to compensatory damages in an amount to be determined
                                                                3    at trial, attorney fees, and injunctive relief under California Penal Code § 502(e)(1) and
                                                                4    (2).
                                                                5            85.   Because Defendants willfully violated California Penal Code § 502, and
                                                                6    there is clear and convincing evidence that Defendants committed “fraud” as defined
                                                                7    by section 3294 of the Civil Code, Facebook is entitled to punitive and exemplary
                                                                8    damages under California Penal Code § 502(e)(4).
                                                                9                               FOURTH CAUSE OF ACTION
                                                                10                                             Fraud
                                                                11           86.   Facebook realleges and incorporates by reference all of the preceding
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                                                                12   paragraphs.
                                                                13           87.   From approximately October 2018 until December 2018, Defendants
                                                                14   knowingly used customized malware to defraud Facebook into believing that users had
                                                                15   clicked on ads, when, in fact, the Defendants malware had fabricated the clicks.
                                                                16   Defendants’ used malware to create fake user clicks which Facebook received and
                                                                17   relied on in issuing advertising revenue payments to Defendants. As a result of the false
                                                                18   information, Defendants received higher payments for Audience Network as a direct
                                                                19   result of clicks that they had fabricated.            Defendants intended that their
                                                                20   misrepresentations about the origin and number of clicks on each ad would be relied on
                                                                21   by Facebook, and Facebook reasonably relied on Defendants’ misrepresentations in
                                                                22   providing Audience Network payments to Defendants.
                                                                23                                FIFTH CAUSE OF ACTION
                                                                24                       Unlawful, Unfair, or Fraudulent Business Practices
                                                                25                    Cal. Business and Professions Code §§ 17200 et seq.
                                                                26           88.   Facebook incorporates all other paragraphs as if fully set forth herein.
                                                                27           89.   Defendants’ actions described above constitute unlawful, unfair, or
                                                                28   fraudulent acts or practices in the conduct of a business, in violation of California’s
                                                                                                                14
                                                                                                COMPLAINT; DEMAND FOR JURY TRIAL
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                                                                1    Business and Professions Code Section 17200 et seq., including actions forbidden by
                                                                2    other laws.
                                                                3          90.      Defendants’ practices are unlawful because they violate the Computer
                                                                4    Fraud and Abuse Act and California Comprehensive Data Access and Fraud Act, as set
                                                                5    forth above.
                                                                6          91.      Defendants’ practices are unfair because they offend established public
                                                                7    policy and are substantially injurious to Facebook and its users.
                                                                8          92.      Defendants’ practices are fraudulent because they deceived Facebook into
                                                                9    believing that clicks generated in Audience Network ads on their apps are genuine,
                                                                10   when in fact they were not. Defendants’ practices are also fraudulent because they
                                                                11   deceived Facebook and its users into believing that Defendants’ ads offered a legitimate
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                           550 South Hope Street, Suite 2000
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                                                                12   app, when in fact, their apps concealed malicious software.
                                                                13         93.      As a result of Defendants’ acts and omissions, Facebook was injured in
                                                                14   fact and lost money and property in the form of, among other things, payments to
                                                                15   defendants predicated, in part, on the injected clicks and costs to investigate, remediate,
                                                                16   and prevent Defendants’ wrongdoings.
                                                                17                                   REQUEST FOR RELIEF
                                                                18         WHEREFORE, Facebook requests judgment against Defendants as follows:
                                                                19         1.       That the Court enter judgment against Defendants that Defendants have:
                                                                20                  a.     Breached their contracts with Facebook, in violation of California
                                                                21                         law;
                                                                22                  b.     Violated the Computer Fraud and Abuse Act, in violation of 18
                                                                23                         U.S.C. § 1030;
                                                                24                  c.     Violated the California Comprehensive Computer Data Access
                                                                25                         and Fraud Act, in violation of California Penal Code § 502;
                                                                26                  d.     Committed fraud on Facebook, in violation of California law; and
                                                                27                  e.     Violated the California Unlawful, Unfair, or Fraudulent Business
                                                                28                         Practices law.
                                                                                                                15
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                                                                                                                                                 3:19-cv-04556
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                                                                1            2.    That the Court enter a permanent injunction enjoining and restraining
                                                                2    Defendants from:
                                                                3                   a.    Accessing or attempting to access Facebook’s website and
                                                                4                         computer systems;
                                                                5                   b.    Creating or maintaining any Facebook accounts in violation of
                                                                6                         Facebook’s TOS;
                                                                7                   c.    Engaging in any activity to defraud Facebook or its users; and
                                                                8                   d.    Engaging in any activity, or facilitating others to do the same, that
                                                                9                         violates Facebook’s TOS, Audience Network Terms, Audience
                                                                10                        Network Policies, Advertising Policies, or other related policies
                                                                11                        referenced herein.
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                           550 South Hope Street, Suite 2000
Hunton Andrews Kurth LLP




                                                                12           3.    That Facebook be awarded damages, including, but not limited to,
                                                                13   compensatory, statutory, and punitive damages, as permitted by law and in such
                                                                14   amounts to be proven at trial.
                                                                15           4.    That Facebook be awarded a recovery in restitution.
                                                                16           5.    That Facebook be awarded its reasonable costs, including reasonable
                                                                17   attorneys’ fees.
                                                                18           6.    That Facebook be awarded pre- and post-judgment interest as allowed by
                                                                19   law.
                                                                20   ///
                                                                21   ///
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                                                                                                COMPLAINT; DEMAND FOR JURY TRIAL
                                                                                                                                                 3:19-cv-04556
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                                                                1          7.     That the Court grant all such other and further relief as the Court may deem
                                                                2    just and proper.
                                                                3
                                                                4    Dated: August 6, 2019                        HUNTON ANDREWS KURTH LLP
                                                                5
                                                                6                                                   By:        /s/ Ann Marie Mortimer
                                                                7                                                            Ann Marie Mortimer
                                                                                                                             Jason J. Kim
                                                                8                                                            Jeff R. R. Nelson
                                                                9                                                         Attorneys for Plaintiff
                                                                                                                          FACEBOOK, INC.
                                                                10
                                                                                                                             Jessica Romero
                                                                11                                                           Tyler Smith
                           Los Angeles, California 90071-2627
                           550 South Hope Street, Suite 2000
Hunton Andrews Kurth LLP




                                                                12                                                           Michael Chmelar
                                                                                                                             Platform Enforcement and
                                                                13                                                           Litigation
                                                                14                                                           Facebook, Inc.
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                                                                                               COMPLAINT; DEMAND FOR JURY TRIAL
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                                                                1                                          JURY TRIAL DEMAND
                                                                2            Plaintiff hereby demands a trial by jury on all issues triable to a jury.
                                                                3
                                                                4    Dated: August 6, 2019                               HUNTON ANDREWS KURTH LLP
                                                                5
                                                                6                                                          By:        /s/ Ann Marie Mortimer
                                                                7                                                                   Ann Marie Mortimer
                                                                                                                                    Jason J. Kim
                                                                8                                                                   Jeff R. R. Nelson
                                                                9                                                                Attorneys for Plaintiff
                                                                                                                                 FACEBOOK, INC.
                                                                10
                                                                                                                                    Jessica Romero
                                                                11                                                                  Tyler Smith
                           Los Angeles, California 90071-2627
                           550 South Hope Street, Suite 2000
Hunton Andrews Kurth LLP




                                                                12                                                                  Michael Chmelar
                                                                                                                                    Platform Enforcement and
                                                                13                                                                  Litigation
                                                                14                                                                  Facebook, Inc.
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                                                                                                        COMPLAINT; DEMAND FOR JURY TRIAL
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             facebook
             facebook
                 October 11,
                         11, 2016

                LIONMOBI HOLDING LIMITED
                GCCD0582 RM B 14/F WAH HEN COMM CTR 383 HENNESSY RD
                HongKong,999077 Wan Chai District,
                HongKong,                District, Hong Kong

                Re: Written Acknowledgement of Audience Network Terms
                Re:

                To Whom It May Concern,
                               Concern,

                Per your request,
                         request,this letter serves as a written confirmation that use by Lionmobi Holding Limited
                ("Publisher")
                ("Publisher") and Facebook,
                                  Facebook,Inc.
                                              Inc.("Facebook")
                                                  ("Facebook") of Facebook's Audience Network feature is governed by
                the then-current Audience Network Terms available at
                https://www.facebook.com/ads/manage/auddience
                https://www.facebook.com/ads/manage/au         ience network/publisher tos (or
                                                                                             (or a successor URL as
                designated by Facebook)
                               Facebook) and commenced in September 2015. 2015.

                If the parties acknowledge and agree to the foregoing,
                                                            foregoing, kindly acknowledge acceptance by signing in the
                spaces provided below.
                                  below.

                                                                              FACEBOOK,INC.
                                                                              FACEBOOK, INC.

                                                                                                       C sreada.ftos
                                                                                                       C Castellanos
                                                                              By:
                                                                              By:

                                                                              Name:
                                                                              Name:       Erwin Castellanos

                                                                              Title:      Authorized Signatory
                             AGREED:
                ACCEPTED AND AGREED:
                                                                                               c4c,eboo*
                                                                                               facebo kfacebooko*
                PUBLISHER:
                PUBLISHER:
                Lionmobi Holding Limited
                                                                                                   LEGAL
                By:
                By:       ‘)
                           ‘)f ri) 7 et
                             You     T.ao
                                     et                                                                   (.)
                                                                                               A
                                                                                               A      Pav*.
                                                                                                      Park.''
                Name:
                Name:          YoU TAO
                Title:         £00
                           behalf of
                For and on kW(
                LIONMOBI HOLDING LIMITED


                                  AsemorailWasnQ)
                                  Authorized Signature(s)
                                                         Facebook Confidential Information
                                                      1601 Willow Road,
                                                                  Road, Menlo Park,
                                                                              Park, CA 94025




41   1(ef Document Integrity Verified                                      Adobe Sign Transaction Number CESJCHBCAABAAMMmh3ISWOKoFix1vDiCEY3qErscHGODEle ImL
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                        EXHIBIT 2
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06/27/19 -- Screenshot of Power
                          Power Clean Privacy
                                      Privacy Policy
                                              Policy -- https://www.lionmobi.com/powerclean/privacypolicy.html

   •        <                                                                                  Ii itonmetti.corn


 We respect the privacy of every individual users of our applications and services.
                                                                          services.
 This Privacy Policy("Policy')
                     ("Policy') describes how LionMobi(''LionMobi'',
                                                          (''LionMobi'', "We", "Us",or "Our')
                                                                         "We", "Us",   "Our') protects your privacy when you use LionMobi applications on all platforms("App",
                                                                                                                                                                       ("App", 'Apps",
                                                                                                                                                                               'Apps",
 "Application" or "Applications")
                  "Applications") and the related services we provide("Service
                                                                      ("Service or "Services").
                                                                                    "Services").
 This Policy covers our collection,
                        collection, use and disclosure.
                                            disclosure. of your information through the Applications and the Services.
                                                                                                             Services.It does not cover any collection,
                                                                                                                                            collection, use or disclosure by third parties through any
 applications,web sites,
 applications,    sites, products or services that we do not control or own,
                                                                        own, such as Facebook,
                                                                                     Facebook, or any third-party features or services made available via the Application or the Services.
                                                                                                                                                                                 Services.
PLEASE READ THIS PRIVACY POLICY CAREFULLY.
                                CAREFULLY. BY INSTALLING AND/OR USING THE APPLICATION AND/OR SERVICE,
                                                                                              SERVICE, YOU AGREE TO BE BOUND BY THE TERMS
AND CONDITIONS DESCRIBED HEREIN AND ALL TERMS AND
                                                AND CONDITIONS INCORPORATED
                                                               INCORPORATED BY REFERENCE.
                                                                                 REFERENCE. IF YOU DO NOT AGREE TO ALL THE TERMS AND
CONDITIONS SET FORTH BELOW,
                     BELOW, YOU MAY
                                 MAY NOT USE THE LIONMOBI
                                                 LIONMOBI APPLICATIONS AND/OR SERVICES.
                                                                               SERVICES.

 Privacy Policy
Last modified
     maenad,Sep 21.2017

 This Privacy Policy is meant to help you understand:
                                          understand:
  •    what data we collect and why we collect that information.
                                                    information.
  •    how the data we collected is used and shared.
                                             shared.
  •    information security.
                    security.
  •    international users
  •    sensitive information
  •    changes to this Privacy Policy.
                               Policy.
 We've tried to keep the Policy simple,
                                 simple, but if you have any questions on the privacy or our privacy practices,
                                                                                                     practices, or to report any violations of the Policy or abuse of the Applications or the Services,
                                                                                                                                                                                              Services,
 please feel free to contact us via email:
                                    email: comact@lionrnobi.com.
                                           contact@lionrnobi.com.

 What Information We
 What             We Collect ?
                             ?

 We collect personal information to implement significant features and provide you better experience.
                                                                                          experience. This information includes:
  • Device Information.
            Information. We collect device-specific information (such
                                                                  (such as your hardware manufacturer &   & model,
                                                                                                            model,operating system version,
                                                                                                                                        version, screen size,
                                                                                                                                                        size, CPU model,
                                                                                                                                                                    model,unique device identifiers,
                                                                                                                                                                                          identifiers,
    mobile network information and installed apps)
                                               apps) to implement app features,
                                                                       features, provide our services,
                                                                                             services, and improve the app performance for ail our users.
                                                                                                                                                        users.
  • App Usage Data.
                  Data.We collect usage data includes information relating to the behavior and/or the habit when you are using the app to analyze arid improve the user experience.
                                                                                                                                                                              experience. We do not
    collect the content you may transmit or share within the app.
                                                             app.
  • finagle Advertising ID.
                          ID. Google Advertising ID by Google Play Service for advertising is used in the third-party advertising network to provide personalized advertisements and prevent
    inappropriate advertisement content for you.
                                             you.
  • Photo in Gallery.
              Gallery.We access your device gallery to implement features (such
                                                                             (such as duplicate photo remover).
                                                                                                       remover).
  • Camera Access.
              Access.We only access your device camera when using app features Flashlight or getting camera resolution.
                                                                                                                  resolution.
  • Aggregate Information.
                 Information. We collect about a group or category of services or users,
                                                                                   users, which means information on how you use the Applications and the Services may be collected and
    combined with Information about how others use the Applications and the Services.
                                                                                Services.
  • Malicious App.
                App.We collect Information about malicious applications,
                                                              applications,files and other potential threats on your tablet,
                                                                                                                     tablet, mobile phone or other applicable device and their behaviors and
    origins Me collect there information to better understand how you access and use our antivirus service,
                                                                                                     service, We do not sell,
                                                                                                                         sell, trade,
                                                                                                                               trade, or transfer to outside parties your personally identifiable
    information.
    information.

 How We
 How We Use Information We
                        We Collect ?

We use the information we collect from our applications and services to provide you better features and experience on them.
                                                                                                                      them. We also use the data to measure the performance and improve the
apps and services.
         services.
We do not sell,
          sell, trade,
                trade, or otherwise transfer to outside parties your personally identifiable information.
                                                                                             information.

Opt-out of personalized advertising.
                        advertising.

To show you personalized advertisements in our apps we use specific advertising networks and their partners to deliver advertisements that are tailored to you based on a determination of your
characteristics or interests.
                   interests. To do so they use personal and non-personal information such as advertising identifiers,
                                                                                                          identifiers, such as the Android advertising ID,
                                                                                                                                                       ID, and/or other tracking technologies to
enable and optimize this advertising procedure.
                                       procedure.
You can opt-out from personalized advertisement experience,
                                                    experience, at any time by checking the privacy settings of your Android device and selecting "opt-out of interest-based ads'
                                                                                                                                                                              ads'(Android).
                                                                                                                                                                                   (Android). When
you choose to opt.out,
               opt-out, advertising networks will consider this choice as a withdrawal of consent to personalized advertisement experience and they will show only non-personalized
advertisements and not targeted advertisements based on your interests.
                                                                interests.

Information Security

We work hard to protect your information from unauthorized access by providing administrative,
                                                                                    administrative,technical,
                                                                                                    technical, organizational,
                                                                                                               organizational, physical,
                                                                                                                               physical, electronic,
                                                                                                                                         electronic, and procedural safeguards and taking risk
management measures in accordance with applicable laws to ensure your data is adequately protected against accidental or unlawful destruction,
                                                                                                                                         destruction, accidental loss, alteration,unauthorized
                                                                                                                                                                 loss, alteration,
disclosure,
disclosure, or access,
               access,use,
                       use, and all other unlawful forms of processing of your data in our possession.
                                                                                           possession. We restrict access to personal and/or sensitive data only to highly related employees,
                                                                                                                                                                                    employees,
contractors and agents who need to know that information for operation,
                                                                operation, development and/or improvement purposes.
                                                                                                              purposes. Please be aware that,
                                                                                                                                          that, although we endeavor to protect the information we
collect and store,
            store, no security system guarantees absolute safety.
                                                          safety.

International Users

Your personal information may be stored and processed in any country where we have facilities,
                                                                                         facilities, and by using the Applications or the Services you consent to the transfer of your personal
information to countries,
               countries, which may be outside of your country of residence and may provide for different and less stringent data protection rules than in your country.
                                                                                                                                                                   country. If you object to your
personal information being transferred or used as described in this Policy,
                                                                    Policy, please do not use the Applications or the Services and immediately delete the Applications from your Devices.
                                                                                                                                                                                     Devices.

Sensitive Information

 We ask that you do not send us,
                               us, and you do not disclose,
                                                  disclose, any sensitive personal information (e.g.,
                                                                                               (e.g., information related to racial or ethnic origin,
                                                                                                                                              origin, political opinions,
                                                                                                                                                                opinions, religion or other beliefs,
                                                                                                                                                                                            beliefs, health,
                                                                                                                                                                                                     health,
 sexual orientation,
        orientation, criminal background or membership in past organizations,
                                                                  organizations, including trade union memberships)
                                                                                                        memberships) on or through the Application or the Services or otherwise to us.   us.

 Changes to This Privacy Policy

Our Privacy Policy may change from time to time.
                                               time. We do not reduce your rights under this Privacy Policy without your explicit consent.
                                                                                                                                  consent. We will post any privacy policy changes on this page
and,
and, if the changes are significant,
                        significant, we will provide a more prominent notice.
                                                                      notice. We will also keep prior versions of this Privacy Policy in an archive for your review.
                                                                                                                                                             review.
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                        EXHIBIT 3
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        Power Clean - Antivirus & Phone Cleaner App
        Sponsored

Install this application, delete junk files and viruses now.Keep your phone
safe!




Power Clean - Antivirus & Phone Cleaner App                             Install Now


00.      45K                                           652 Comments 1.1K Shares


        e,   Like                 (:) Comment                     4   Share
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                        EXHIBIT 4
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06/27/19 - Screenshot of Privacy Policy for Calculator Plus - http://wsvvvv.developertech.onlinelca4/policy.h4- 1
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 Privacy Policy
 We value your privacy.We hope the following statement will help you understand how the products deals with the personal identifiable information
 you may occasionally provide to us via the 'Google Play'Platform.
 Based on our apps and associated services,if you need to sign up for and use any special functional service which provided by a third party,please
 carefully read the terms of service for such special functional service.By accepting or using any special functional service,you acknowledge that you
 have read and accepted this Agreement and the terms of service for such special functional service and agree to be bound by them.
 Personal Information
 We do not collect personal information such as your name,email address or billing information,or other information that can be reasonably linked to
 such information.However,we may use personal information for the following purposes:
 1 Help us develop,deliver,and improve our products and services and supply higher quality service;
 2.Manage online surveys and other activities you've participated in.
 3In the following circumstances,we may disclose your personal information according to your wish or regulations by law:
 (1) Your prior permission;
 (2) By the applicable law within or outside your country of residence,legal process,litigation requests;
 (3) By requests from public and governmental authorities;
 (4) To protect our legal rights and interests.
 Non- Personal Information
 We may collect and use non-personal information in the following circumstances.To have a better understanding in user's behavior,solve problems in
 products and services,improve user experience,we may collect non-personal information such as installed application name,the data of install,
 frequency of use,country,equipment and version.
 If non-personal information is combined with personal information,we treat the combined information as personal information for the purposes of this
 Privacy Policy.
 There is some information we collect when you access our Services,which we use to facilitate the broad range of communications offered through our
 Services,to provide you cool features and functionality,and to enable all the other purposes described in this privacy policy.We explain all this below:
 (1)Information
 we get from your use of our services We may collect information about the services that you use and how you use them,such as when you view and
 interact with our content.We may collect device-specific information (such as your hardware model,operating system version,unique device
 identifiers,and mobile network information).We will not share that information with third parties.
 (2)Usage Information
 We collect information about your activity through our Services.For example,we collect information such as the time,date,country,language,traffic
 type.

 (3) Location information

 When you use a location-enabled service,we may collect and process information about your actual location,like GPS signals sent by a mobile device.
 We may also use various technologies to determine location,such as sensor data from your device that may,for example,provide information on
 nearby Wi-Fi access points and cell towers.

 (4) Device Information

 We collect information about your device,including the hardware model,operating system and version,unique device identifiers (including SSAID,
 GAID),browser type and language,mobile device phone number,and mobile network information, International Mobile Equipment Identity
 ("IMEI"),Identifier for Advertising("IDFA"),Identifier for Vendor("IDFV"),Integrated Circuit Card Identifier("ICCID"),Media Access Control
 ("MAC")address,model and resolution ,which will be used by us to calculate the number of devices that use our products and our Services and
 analyze data on device models and graphics adaptation.You can choose not to provide certain information,but then you might not be able to take
 advantage of many of our APP.We also collect certain device information that will help us diagnose problems in the (hopefully rare) event you
 experience any crash or other problem while using our Services.
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advantage of many of our APP.We also collect certain device information that will help us diagnose problems in the (hopefully rare) event you
experience any crash or other problem while using our Services.

(5) Unique application numbers.

Certain services include a unique application number.This number and information about your installation (for example,the operating system type and
application version number) may be sent to us when you install or uninstall that service or when that service periodically contacts our servers,such as
for automatic updates.

(6) Camera and Photos

Many of our Services require us to collect images and other information from your device's camera and photos.We'll access your camera and photos
only after you give us your consent.You can choose not to provide it,but then you might not be able to take advantage of many of our Services.
How We Use Information
We collect user information and personal details so that we can provide our products and our Services to you and ensure our compliance with relevant
laws.We will use your user information and personal details collected under "The Information We Collect" for the following purposes:
(1) Services To provide,process,maintain,improve and develop our Sites and/or our Services provided to you,including customer support,and other
services provided through our devices or our Sites.
(2) Statistical analysis To develop and analyze statistics on the use of our products and our Services for the purpose of improving our products and our
Services.
(3)To facilitate your use of forums Your personal details may be used when we display your profile,when you interact with other users and when you
publish forum posts.
(5)To provide location-based services When you use our Services,we or third-party service providers may take advantage of your location information
to provide you with the correct version of our Services and improve your user experience.
(6)To improve user experience Certain optional features such as user experience programs allow to analyze data regarding the use of our products and
our Services and improve user experience.
(5) Personalize the Services by providing advertisements,content,or features that match user profiles or interests; if you do not want to receive any
personal-interested ads or content,you can choose to adjust the setting;
Changes
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Our Privacy Policy may change from time to time.We will not reduce your rights under this Privacy Policy without your explicit consent.We will post
any Privacy Policy changes on this page and,if the changes are significant,we will provide a more prominent notice (including,for certain services,
email notification of Privacy Policy changes.
Contact Us
If you have questions about the privacy aspects of our applications or would like to make a complaint,please contact us via contactejedimobi.com
